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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OHIO
                              EASTERN DIVISION


 IN RE: NATIONAL PRESCRIPTION                )
       OPIATE LITIGATION                     )
                                             )
        This document relates to:            )
                                             )
The County of Summit, Ohio, et al. v. Purdue )
            Pharma L.P., et al.              )    MDL No. 2804
          Case No. 18-op-45090               )   Case No. 17-md-2804
                                             )   Judge Dan Aaron Polster
                   and                       )
                                             )
The County of Cuyahoga v. Purdue Pharma )
                L.P., et al.                 )
         Case No. 1:18-op-45004              )
                                             )

MEMORANDUM IN SUPPORT OF DEFENDANT JANSSEN PHARMACEUTICALS,
 INC. AND JOHNSON AND JOHNSON’S MOTION FOR SUMMARY JUDGMENT
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I.       INTRODUCTION

         For nearly two years, Plaintiffs have trafficked in sweeping, unsubstantiated claims about

the responsibility Janssen and other Defendants bear for Ohio’s opioid abuse crisis. The time for

sweeping, unsubstantiated claims is now over. To survive summary judgment, Plaintiffs must

satisfy the bedrock requirement of causation by tying Janssen’s challenged conduct to their

alleged injuries with concrete evidence. See Wilson v. Columbus Bd. of Educ., 589 F. Supp. 2d

952, 972 (S.D. Ohio 2008). They cannot.

         Janssen designed the three opioid medications at issue in this litigation to deliver critical

relief to patients experiencing pain, while also limiting the risk of abuse. Duragesic, a

transdermal patch that entered the market in 1990, offered 72-hour relief in a formulation that

was thought to be more difficult to abuse and less attractive to abusers than orally administered

opioids. Nucynta, an immediate-release opioid that entered the market in 2009, contained a new

dual-acting active ingredient that was thought to be less attractive to abusers than existing opioid

pills. Nucynta ER, its extended-release counterpart, was released in 2011 with a crush-resistant

coating to further minimize the drug’s attractiveness to patients without legitimate pain-relief

needs.

         Plaintiffs cannot show that Janssen’s conduct in connection with these FDA-approved,

DEA-regulated products caused Ohio’s opioid abuse crisis. Plaintiffs premise their claims

against Janssen on two categories of alleged wrongdoing: (i) allegedly fraudulent marketing of

these medications, and (ii) alleged failure to prevent diversion of these medications. But neither

of these theories can support Plaintiffs’ claims.

         First, the undisputed evidence shows that Janssen’s marketing could not have caused the

opioid abuse crisis because Janssen’s products were not used—much less abused—by a significant

percentage of people who took opioids. Indeed, Janssen’s opioid products accounted for a
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minuscule sliver of the Track One market for opioid medications (between 0.1% and 0.9%) and

an equally negligible share of doctor-shopping reports (0.13%). Further, Janssen’s unbranded

marketing materials were not even published until years after Ohio had declared an opioid abuse

crisis. And the First Amendment protects the speech of third-party organizations and individuals

that Janssen supported, rendering inactionable their statements about matters of public concern,

such as pain relief.

         Plaintiffs’ second theory of liability, that Janssen failed to prevent diversion of its opioid

medications, fares no better. Janssen’s suspicious order monitoring system has been inspected by

more than a dozen separate diversion investigators from the Drug Enforcement Agency over the

years and maintains a perfect compliance record. In addition, Plaintiffs have no competent

evidence that Janssen failed to identify any suspicious order or that a single Janssen order was

actually diverted.

         Although they have received nearly five million pages of Janssen documents and deposed

Janssen witnesses for more than 100 hours, 1 Plaintiffs have failed to develop evidence that can

sustain their claims against Janssen. The time has come and gone for Plaintiffs to prove their

case. Because there is no evidence from which any reasonable juror could conclude that Janssen

caused Ohio’s opioid abuse crisis, the Court should grant summary judgment in Janssen’s favor.

II.      ARGUMENT

         A.     Janssen’s Marketing Did Not Cause the Opioid Abuse Crisis in Ohio.

         As outlined in the Manufacturer Defendants’ joint motion for summary judgment on

causation grounds, Plaintiffs have made no effort to show that a single physician prescribed a

single opioid medication because of Janssen’s—or any other Manufacturer Defendant’s—alleged


1
 This figure excludes depositions of Janssen witnesses taken in Oklahoma for which transcripts were
produced to Plaintiffs.

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misrepresentation. See Joint Causation Motion for Summary Judgment. And Plaintiffs’ intended

aggregate proof of causation—the analysis of their expert Meredith Rosenthal—cannot establish

that the Manufacturer Defendants collectively, or Janssen specifically, caused any increase in

opioid prescriptions in the relevant jurisdictions. Id.

       These failures of proof are even more stark as to Janssen. In support of their contention

that Janssen caused the opioid abuse crisis, Plaintiffs have cited several obscure statements that

allegedly misrepresented the risks and benefits of long-term opioid therapy. See infra at 4-9. But

a closer look at Janssen’s position in the market and the challenged statements shows that no

reasonable juror could conclude these statements caused the opioid abuse crisis.

       The challenged statements fall into three groups—(1) Janssen’s branded marketing of its

opioid medications; (2) Janssen’s unbranded marketing; and (3) third-party speech about

opioids—none of which supports Plaintiffs’ claims.

       No reasonable juror could conclude that Janssen’s branded marketing of Nucynta and

Duragesic caused the opioid abuse crisis because these medications’ market share was minuscule

and they were rarely abused. Nor could any reasonable juror conclude that Janssen’s unbranded

marketing caused the crisis because it occurred well after Ohio’s opioid abuse crisis was already

underway. And the challenged third-party speech about opioids is not actionable because it is

protected by the First Amendment. In sum, there is no evidence from which a rational factfinder

could conclude that Janssen’s marketing caused the opioid abuse crisis.

                     1.   Janssen’s Branded Marketing Did Not Cause the Opioid Abuse
                          Crisis Because Janssen Medications Were Not Widely Sold or
                          Abused.

       Janssen’s branded marketing—by definition—promoted only Janssen’s medications. And

the uncontroverted evidence shows that these medications played no actionable role in the opioid

abuse crisis. Janssen’s branded marketing therefore cannot support Plaintiffs’ claims, because
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there is no evidence supporting the implausible inference that the marketing of medications that

played no actionable role in the opioid abuse crisis somehow caused that crisis.

         According to Plaintiffs’ own expert, the DEA’s ARCOS database reveals that Janssen’s

opioid medications accounted as little as 0.1% and no more than 0.9% of the Track One market

for opioid medications. Cardelus Decl. Ex. 1 (Keller Report) at 16; Cardelus Decl. Ex. 2 (Keller

Tr.) at 221:18-222:16.

         Plaintiffs also have no evidence that Duragesic or Nucynta were widely abused.

Duragesic is a transdermal patch, not a pill. Patches are, by nature, more difficult to abuse than

pills—they cannot, for instance, be crushed and snorted for a quick high—and reports

unanimously show that abuse rates for Duragesic have consistently been far lower than for

opioid pills. Cohen Decl. Ex. A (expert report) at 40; Cardelus Decl. Ex. 3 (Okla. Moskowitz

Tr.) at 223:24-224:7. Abuse rates for Nucynta and Nucynta ER, which contained an active

ingredient designed to be abuse-deterrent, were likewise much lower than for other opioid pills.

Cohen Decl. Ex. A (expert report) at 40; Cardelus Decl. Ex 4 (Moskowitz Tr.) at 684:4-17;

Cardelus Decl. Ex. 5 (Okla. Vorsanger Tr.) at 280:25-282:9, 298:21-299:4. 2 Fewer than 1% of

patients who took Nucynta in clinical trials reported experiencing euphoria, and post-market

surveillance data confirms that abuse of the Nucynta products is uncommon. 3 And Plaintiffs

have offered no evidence to contradict these statistics: In fact, Plaintiffs’ expert James Rafalski

testified that he had no knowledge of Nucynta and Duragesic diversion rates, or any instance of



2
 Pursuant to the Court’s Discovery Ruling No. 9, depositions taken in state actions before January 25,
2019, have been produced in the MDL. See Dkt. No. 1118.
3
 See Cardelus Decl. Ex. 5 (Okla. Vorsanger. Tr.) at 112:3-113:16, 280:25-280:25; Cardelus Decl. Ex. 6
(Nucynta ER label) at 16; Cardelus Decl. Ex. 7 (Nucynta label) at 11; Cardelus Decl. Ex. 8 (Eric Galia et
al., Evaluation of the tamper-resistant properties of tapentadol extended-release tablets: Results of in
vitro laboratory analyses, J. Opioid Mgmt. 10:3, at 150 (2014)); Cardelus Decl. Ex. 9 (Nucynta ER:
Fourth Safety Surveillance Plan Progress Report) at 81.

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diversion of those medications in the Track One jurisdictions. See Cardelus Decl. Ex. 10

(Rafalski Tr.) at 631:13-634:2; 734:10-17, 735:19-736:1.

       Consistent with these low abuse rates, available data from by the Ohio Board of

Pharmacy reveals a negligible rate of doctor-shopping for Janssen opioid medications. Marais

Decl. Ex. A at ¶ 46 & Table 2 (analyzing 2008-2018 data from Ohio Automated Rx Reporting

System). Even under a broader definition of doctor-shopping than the State of Ohio uses, only

0.28% of prescriptions for Duragesic, Nucynta, and Nucynta ER were associated with a doctor-

shopping episode. Id. ¶ 45 (2008-2018 data). These prescriptions represent 0.13% of all

prescriptions involved in a doctor-shopping episode. Id.

       Ohio’s opioid abuse crisis has nothing to do with Janssen’s products—there is no such

thing as a patch mill, and there has never been a Nucynta epidemic. Plaintiffs attempt to

shoehorn Janssen into this case by using a causation model that lumps Janssen in with every

other manufacturer, but they cannot escape the reality that Janssen’s products were rarely

abused, and that Janssen could not have caused the opioid crisis by promoting them.

                     2.   Janssen’s Unbranded Marketing Was Too Obscure and Occurred
                          Too Late to Have Caused Ohio’s Opioid Abuse Crisis.

       Janssen did not publish the challenged unbranded marketing materials until 2008—long

after opioid abuse had become a crisis in Ohio. As early as the 1990s, abuse of prescription

opioids emerged as a significant problem across Ohio, and by the 2000s, it had reached epidemic

levels. As one Cuyahoga County prosecutor testified, prescription opioids “absolutely” became a

“problem” by the “early ‘90s.” Cardelus Decl. Ex. 30. The Chief Toxicologist of Summit County

recalled that, “in the early 2000s,” “all I saw … at the coroner’s office were prescription meds.”

Id. Ex. 31. During their depositions, police officials and other first responders around the state

chronicled the emergence and spread of the opioid abuse crisis in the mid-1990s into the mid-


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2000s. Id. Ex. 32-34. And DEA data from a report upon which Plaintiffs rely indicates that

“[f]rom 1997 to 2007, there was a 506 percent increase in the amount of prescription opioid

grams per 100,000 population distributed to retail pharmacies in Ohio.” Id. Ex. 35; see also id.

Ex. 36 (email from Cuyahoga official attaching report).

          These undisputed facts have not stopped Plaintiffs from claiming that Janssen somehow

caused the opioid abuse crisis by publishing a handful of statements in obscure unbranded

marketing documents 4 that did not appear until years later. Janssen continues to dispute that any

of its marketing was misleading, but Plaintiffs’ chronology of facts, which must be construed in

their favor for purposes of this motion, simply cannot support the conclusion that Janssen’s

marketing activities caused a crisis that had already been well underway for years. See

Ambassador Hotel Co. v. Wei-Chuan Inv., 189 F.3d 1017, 1029 (9th Cir. 1999) (“[E]vents which

occur after the injury has occurred cannot be said to have caused the injury.”). The five

unbranded marketing documents Plaintiffs cite were all produced between 2008 and 2011—far

too late to have fueled an opioid abuse crisis in Ohio. “Prescribe Responsibly” was not published

until 2011; 5 “Let’s Talk Pain” was not published until 2009; 6 “Neopathways” was not published

until 2009; 7 “Exit Wounds” was not published until 2009; 8 and “Finding Relief” was not

published until 2008. 9 Plaintiffs have no evidence to suggest any of these achieved a substantial

audience, in Ohio or elsewhere—let alone that they were influential enough to move the needle




4
 As used here, “unbranded marketing” includes two third-party documents that Plaintiffs have labeled—
but that are not in fact—Janssen unbranded marketing: “Exit Wounds” and “Finding Relief.”
5
    Cardelus Decl. Ex. 11 (cited in Cardelus Decl. Ex. 16 (Kessler Report) ¶¶ 318-318.2).
6
    Cardelus Decl. Ex. 12 (cited in Cuyahoga 3AC ¶¶ 195-196, 232).
7
    See Cardelus Decl. Ex. 17 (Egilman Report) at Ex. B.381.
8
    Cardelus Decl. Ex. 14 (cited in Cuyahoga 3AC ¶ 453).
9
    Cardelus Decl. Ex. 15 (cited in Cardelus Decl. Ex. 18 (Schumacher Report) ¶¶ 76-77).

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on a crisis that, by the State’s account, began more than a decade before they were published.

Because none of these publications even existed before the opioid abuse crisis was well

underway, they cannot support the inference that Janssen caused the crisis. 10

                      3.    Janssen Is Not Liable for Third-Party Speech Protected Under the
                            First Amendment. 11

        The First Amendment protects the third-party speech Plaintiffs cite as a basis to blame

Janssen for the opioid abuse crisis. For example, Plaintiffs premise their claims on prescribing

guidelines published by various professional organizations in peer-reviewed medical journals.

They allege that these guidelines misled doctors and the public, including by “endors[ing]

opioids to treat chronic pain and claim[ing] that the risk that patients would become addicted to

opioids was low.” Cuyahoga 3ACompl. ¶ 348; Cardelus Decl. Ex. 16 (Kessler Report) ¶¶ 447-

454. Their position is apparently that Janssen bears responsibility for this alleged deception

because Janssen contributed to the organizations that issued the guidelines. See, e.g., Cardelus

Decl. Ex. 16 (Kessler Report) ¶¶ 447-454. Similarly, Plaintiffs have suggested that Janssen’s

liability stems from the speech of prominent doctors (so-called “key opinion leaders”) who had a

consulting relationship with Janssen. See, e.g., Summit 3ACompl. ¶¶ 346, 391-398. But the First

Amendment fully protects these statements, and Janssen cannot be held liable for them.




10
   This is also true of branded marketing of Nucynta, which was not released until 2009 or marketed until
then. See, e.g., Cardelus Decl. Ex. 16 (Kessler Report) ¶¶ 270, 295-299 (citing marketing from 2009-
2015); Cardelus Decl. Ex. 20 (Perri Report) ¶ 124 (citing marketing from 2011 or later). Kessler himself
concedes the alleged Janssen misstatements come too late: “By the time of Nucynta’s approval, there was
a growing public health crisis of opioid abuse, particularly of OxyContin/oxycodone, as documented and
discussed by many news reports from wide-ranging geographic areas, by FDA in Advisory Committee
meetings, by legal filings, and by medical journal articles.” Cardelus Decl. Ex. 16 (Kessler Report) ¶ 309
(emphasis added).
 Janssen also contends that all other statements challenged by Plaintiffs are protected by the First
11

Amendment. See Sorrell v. IMS Health, Inc., 564 U.S. 552 (2011).

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       The First Amendment strictly protects speech “relating to any matter of political, social,

or other concern to the community,” Snyder v. Phelps, 562 U.S. 443, 453 (2011), including

speech with “serious … scientific value,” Miller v. California, 413 U.S. 15, 34 (1973). With the

exception of a few “historic and traditional categories … including obscenity, defamation, fraud,

incitement, and speech integral to criminal conduct,” the government cannot target speech on

such matters, United States v. Stevens, 559 U.S. 460, 468-69 (2010) (citations omitted), and

states cannot impose tort liability for it, Snyder, 562 U.S. at 460-61. The third-party speech at

issue here concerns medical questions of undisputable public interest and therefore receives the

highest protection under the First Amendment. See Bd. of Trustees of Leland Stanford Jr. Univ.

v. Sullivan, 773 F. Supp. 472, 474 (D.D.C. 1991) (“It is . . . settled . . . that the First Amendment

protects scientific expression and debate just as it protects political and artistic expression.”).

       This conclusion does not change in light of Janssen’s financial contributions to

professional groups or its engagement of prominent doctors as consultants. “[S]peech does not

lose its First Amendment protection because money is spent to project it.” Va. State Bd. of

Pharmacy v. Va. Citizens Consumer Council, Inc., 425 U.S. 748, 761 (1976). Janssen’s

contributions cannot change the conclusion that these individuals’ and entities’ expression about

important public health questions represents core First Amendment speech that plaintiffs cannot

challenge in tort. See Snyder v. Phelps, 562 U.S. 443, 460-61 (2011).

       Because the third-party speech challenged by Plaintiffs concerns matters of clear public

interest, it is protected by the First Amendment. Plaintiffs’ allegations about this third-party

speech cannot cure their failure to create a factual dispute about the effects of Janssen’s own

marketing.




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       B.      Plaintiffs’ Diversion Theory Cannot Support Their Claims.

       The undisputed facts show that Janssen diligently monitored suspicious orders and that

the DEA never called into question Janssen’s compliance with the CSA. There is also no

evidence that Janssen’s opioids were diverted or that any harm occurred because of Janssen’s

alleged failure to monitor suspicious orders. No reasonable finder of fact could conclude that

supposed deficiencies in Janssen’s suspicious order monitoring system resulted in any diversion

of Janssen’s opioids, much less caused the opioid abuse crisis.

                     1.   There Is No Evidence That Janssen’s Monitoring of Suspicious
                          Orders Was Deficient.

       Under the Controlled Substances Act (“CSA”), Janssen was required to “maint[ain] . . .

effective controls against diversion” and to “design and operate a system to disclose . . .

suspicious orders of controlled substances.” 21 U.S.C. § 823(a)-(b); 21 C.F.R. § 1301.74.

Janssen did precisely that.

       Janssen’s suspicious order monitoring program was reasonably designed and diligently

administered. The program incorporated multiple controls to prevent the unlawful diversion of

its products from its intended patient population, including an automated algorithm to monitor

orders and flag those that were potentially suspicious, see Cardelus Decl. Ex. 20 (Dempsey Tr.)

at 582:13-583:5, as well as protocols for investigating these flagged orders and reporting to the

DEA as appropriate. See Cardelus Decl. Ex. 13, Dempsey Dep. Exs. 42-A, B, C.

       And it worked. After repeated inspections over the years by the DEA, the federal

regulator entrusted with administering the CSA’s diversion-control provisions, Janssen’s

suspicious order monitoring system has had a perfect compliance record since being




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implemented. 12 None of the DEA’s many inspections revealed a single failure or deficiency in

Janssen’s suspicious order monitoring. See supra n.12; see also Cardelus Decl. Ex. 29

(Prevoznik Tr.) at 290:8-20 (testifying that DEA inspectors inform registrants about concerns

over any suspicious order monitoring policies identified during inspections). No reasonable juror

could conclude that Janssen’s suspicious order monitoring program was deficient. 13

                      2.    There is No Competent Evidence that Janssen’s Suspicious Order
                            Monitoring Program Failed to Identify Any Suspicious Orders.

        Plaintiffs’ diversion claims against Janssen fail for the independent reason that Plaintiffs

have failed to identify even a single Janssen order for Duragesic or Nucynta that should have

been withheld as suspicious and reported to the DEA. Plaintiffs’ expert James Rafalski makes no

attempt to identify such orders. See Cardelus Decl. Ex. 10 (Rafalski Tr.) 631:13-634:2. Nor does

their expert Lacey Keller. While Keller’s report attempts to identify prescribers and certain

transactions from chargeback data that satisfy various algorithms specified by Plaintiffs, Keller



12
   See, e.g., Cardelus Decl. Ex. 20 (Dempsey Tr.) at 665:2-666:21, 678:5-23, 687:4-20, 697:4-15, 699:18-
700:3; Cardelus Decl. Ex. 21 (email reflecting October 2008 inspection); Cardelus Decl. Ex. 22 (email
reflecting July 2013 inspection); Cardelus Decl. Ex. 23 (email reflecting January 2015 inspection);
Cardelus Decl. Ex. 24 (email reflecting August 2015 inspection); Cardelus Decl. Ex. 25 (email reflecting
August 2015 inspection); Cardelus Decl. Ex. 26 (email reflecting December 2017 inspection; “nothing
but positive feedback”); Cardelus Decl. Ex. 27 (email reflecting December follow-up inspection);
Cardelus Decl. Ex. 26 (email reflecting September 2018 inspection).
13
   The expert testimony of James Rafalski is insufficient to create a dispute of material fact on this issue
because it is inadmissible. As explained in Manufacturer Defendants’ joint Daubert motion, Rafalski’s
opinion about the adequacy of Janssen’s suspicious order monitoring system is not based on sufficient
facts to be considered by the jury. Though Rafalski testified that certain factors must be examined to
determine whether a suspicious order monitoring system complies with the CSA, he failed to apply these
factors when evaluating Janssen’s suspicious order monitoring system. Compare Cardelus Decl. Ex. 10
(Rafalski Tr.) at 729:19-730:3, 732:15-8 (testifying that whether SOMS program is compliant with CSA
depends on the nature of the business, including the type of company, scope of the business model and
customers, the medications at issue, the abuse rates of those medications, the geographic location where
they are being sold, and the sales volume in those locations) with Cardelus Decl. Ex. 10 (Rafalski Tr.) at
733:9-735:13 (admitting lack of familiarity with Janssen’s business, including no knowledge of how
many customers Janssen sold to, how many orders per month Janssen received, Janssen’s market share in
the Track One jurisdictions, rates of diversion of Janssen’s medications at issue, or even how many orders
Janssen flagged and investigated).
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does not purport to identify any order that should have been flagged and reported to the DEA

pursuant to the CSA: she testified that she has no opinion about what any manufacturer should

have reported to the DEA or what the DEA required to be reported. See id. Ex. 2 (Keller Tr.) at

49:3-8, 55:23-56:25. In other words, there is no evidence from which a jury could conclude that

Janssen allowed any suspicious order to slip through the cracks of the CSA.

                       3.   There Is No Evidence That a Single Order of Nucynta or Duragesic
                            Was Actually Diverted.

          Finally, to survive summary judgment, Plaintiffs must show that there is a legitimate

question of fact over whether Janssen’s alleged failure to report suspicious orders actually led to

diversion that harmed Plaintiffs. They cannot. Just as there is no evidence that Janssen failed to

identify and report suspicious orders, there is no evidence that any Janssen drugs were diverted.

          Not one of Plaintiffs’ experts could identify a single instance of Duragesic or Nucynta

being diverted in the relevant jurisdictions. See, e.g., id. Ex. 10 (Rafalski Tr.) at 735:19-736:1.

Without evidence that any of Janssen’s medications were diverted and that Plaintiffs were

thereby harmed, Plaintiffs cannot premise their claims on the theory that Janssen’s controls were

faulty.

III.      CONCLUSION

          For all the foregoing reasons, as well as those in Defendants’ joint motions for summary

judgment, the Court should grant summary judgment in favor of Janssen and Johnson &

Johnson.




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Dated: June 28, 2019                 Respectfully submitted,

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                                     Inc. n/k/a Janssen Pharmaceuticals, Inc.




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                                 CERTIFICATE OF SERVICE

       I, Charles C. Lifland, hereby certify that the foregoing document was served on June 28,

2019 via electronic transfer to all counsel of record, consistent with the Court’s order.


 Dated: June 28, 2019                           /s/ Charles C. Lifland
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